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Sent:      Wed, 12 Apr 2017 14:03:30 -0600
Subject:   New NV entity
From:      Matt Goettsche
To:



Need to start a new NV entity, this will be a partnership (known)
between myself and another guy                     called Bitwealth
Investments Inc. I will be 50/50 on this and would like you to do the
whole 9 here... entity, registered agent, office, bank account, and
have it ready to fund.

Let me know what information you need... We can either keep this one
private and then do an operating agreement detailing ownership or just
have it set up 50/50. This company will be used to fund above board
investments.

Thanks!
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Matt Goettsche
